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10
                             IN THE UNITED STATES DISTRICT COURT
11
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
12
                                           FRESNO DIVISION
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15   JONATHAN ROBERTSON,                                  Case No. 1:23-cv-00975-KES-GSA

16                                         Plaintiff, REPLY IN SUPPORT OF DEFENDANT
                                                      PALLARES’S MOTION TO DISMISS
17                 v.                                 PLAINTIFF’S SECOND AMENDED
                                                      COMPLAINT
18
     STATE OF CALIFORNIA, et al.,                   Judge:        Hon. Gary S. Austin
19                                                  Trial Date:   None set
                                        Defendants. Action Filed: June 29, 2023
20

21

22                                          INTRODUCTION
23        Prisoner-Plaintiff Robertson’s opposition provides neither legal authority nor demonstrates

24   that the allegations in the operative Second Amended Complaint support Robertson’s second,

25   third and fourth claims for relief against Warden Pallares. Accordingly, the Court should grant

26   Defendant’s motion and dismiss those claims against Warden Pallares.

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 1   I.    ROBERTSON’S FIRST CLAIM FOR RELIEF IS NOT AT ISSUE

 2         Robertson unnecessarily argues the first claim for relief states a claim against Warden

 3   Pallares under the Eighth Amendment. (Pl.’s Opp’n. at 7-9, ECF No. 38). Understanding this

 4   claim to be a claim for an alleged sexual assault by Warden Pallares (see SAC ¶ 17, ECF No.

 5   32,), Warden Pallares did not move to dismiss this claim. (Def.’s Mot., ECF No. 34). Thus, it is

 6   not at issue. Accordingly, the Court need not address Plaintiff’s first claim for relief 1 at this time.

 7   II.   ROBERTSON’S FOURTEENTH AMENDMENT “RIGHT TO BODILY INTEGRITY CLAIM”
           MUST BE DISMISSED
 8
           Robertson’s Fourteenth Amendment claim based on a right to “bodily integrity,” must be
 9
     dismissed as there is no authority supporting such a claim for convicted inmates alleging sexual
10
     assault. Rather, as explained in Defendant’s motion, both the United States Supreme Court and
11
     the Ninth Circuit have unambiguously held that when a constitutional claim is covered by a
12
     specific constitutional provision, then no right under the so-called “substantive due process”
13
     theory of the Fourteenth Amendment will be recognized. (Def.’s Mot. at 4-6, ECF No. 34-1).
14
     The cases cited by Robertson do not support a Fourteenth Amendment claim for a “right to bodily
15
     integrity” for convicted inmates, such as Robertson, who are alleging sexual assault as the basis
16
     of their claims. (See Pl.’s Opp’n. at 9-10, ECF No. 38).
17
           Robertson’s reliance on Johnson v. Meltzer, 134 F.3d 1393 (9th Cir. 1998), is misplaced.
18
     Johnson discussed a Fourteenth Amendment “bodily integrity” claim in relation to a claim against
19
     two doctors for the non-consensual administration of medication. Johnson specifically
20
     recognized that the plaintiff was “not an inmate,” thus distinguishing Johnson from this case,
21
     where the plaintiff is a convicted inmate and has sued for conduct allegedly occurring while in
22
     prison. Id. at 1397.
23
           Albright v. Oliver, 510 U.S. 266 (1994), likewise did not involve a convicted felon. And,
24
     Albright specifically warned that the Supreme Court has been leery to expand the scope of claims
25

26          1
               To the extent Robertson is arguing that the first claim for relief states a claim other than
     an Eighth Amendment sexual assault claim, such as a claim under the Fourteenth Amendment or
27   for failure to protect from Rodriguez (see Pl.’s Opp’n. at 7-8, ECF No. 38), such a claim has not
     been plead or is duplicative of Robertson’s second and third causes of action and thus insufficient
28   to state a claim as explained in sections II and III of this reply.
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 1   under “substantive due process” under the Fourteenth Amendment, affirming that “[w]here a

 2   particular amendment ‘provides an explicit textual source of constitutional protection’ against a

 3   particular sort of government behavior, ‘that amendment, not the more generalized notion of

 4   ‘substantive due process,’ must be the guide for analyzing those claims.” Albright, 510 U.S. at

 5   273 (quoting Graham v. Connor, 490 U.S. 386, 295 (1989)). See also Dobbs v. Jackson

 6   Women’s Health Org., 597 U.S. 215, 331-32 (2022) (Thomas, J. concurring) (explaining that the

 7   notion of “substantive due process” lacks any constitutional basis). While Albright mentions a

 8   “right to bodily integrity” in passing it in no way endorsed or even implied that such a right exists

 9   for convicted, incarcerated inmates like Robertson.

10         Similarly, neither Campbell v. State of Washington Dept. of Social and Health Svcs., 671

11   F.3d 837 (9th Cir. 2011), nor DeShaney v. Winnebago County Dept. of Social Svcs., 489 U.S.

12   189 (1989), involved a prison or prison inmate. Campbell involved the death of a woman

13   voluntarily enrolled in a state care program and Deshaeny involved a claim of injuries inflicted on

14   a child whom the defendant had not removed from an abusive home. Campbell, 671 F.3d at 841;

15   DeShaney, 489 U.S. at 191-93. As neither case involved claims by prison inmates, the Eighth

16   Amendment was not implicated and the plaintiffs in both cases therefore raised claims under the

17   so-called “state created danger” doctrine under the Fourteenth Amendment’s substantive due

18   process prong. Here, the Eighth and not the Fourteenth Amendment applies as Robertson was a

19   post-conviction inmate at the time of the alleged constitutional violation. Castro v. Cnty. of L.A.,

20   833 F.3d 1060, 1067-68 (9th Cir. 2016). Thus, Plaintiff’s “bodily integrity claim” is not

21   cognizable.

22         And, even if such a novel claim could be recognized for prison inmates, Warden Pallares

23   must be granted qualified immunity against such a claim as it is not clearly established that prison

24   officials could violate the Fourteenth Amendment (as opposed to the Eighth Amendment) by

25   allegedly harming an incarcerated, convicted inmate. Robertson cites no cases recognizing a

26   Fourteenth Amendment “bodily integrity” claim for convicted inmates. (See Pl.’s Opp’n. at 9-10,

27   ECF No. 38). In fact, Robertson’s discussion of qualified immunity cites only cases finding that

28   the prison inmates’ claims for sexual assault arise under the Eighth Amendment, not the
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 1   Fourteenth. (Id. at 3-4). Accordingly, Robertson’s Fourteenth Amendment claim should be

 2   dismissed with prejudice and Defendant should be granted qualified immunity as to that claim.

 3   III. ROBERTSON’S FAILURE-TO-PROTECT CLAIM AGAINST WARDEN PALLARES FAILS
 4         Robertson incorrectly argues that the “same law applies to Defendant Pallares’ duty to

 5   protect [Plaintiff] under a failure to protect theory as it does under the violation of bodily integrity

 6   claim.” (Pl.’s Opp’n. at 10:19-22, ECF No. 38). As shown above, the very limited Fourteenth

 7   Amendment “right to bodily integrity” is not implicated in this case; only the Eighth Amendment

 8   applies.

 9         Robertson has not sufficiently plead a claim against Warden Pallares for failure to protect

10   under the Eighth Amendment. Pleading such a claim requires allegations plausibly alleging that

11   (1) the plaintiff was at a substantial risk of serious harm; and (2) the defendant was aware of that

12   risk and intentionally disregarded it. Farmer v. Brennan, 511 U.S. 825, 834 (1994); see also

13   Wood v. Beauclair, 692 F.3d 1041, 1051 (9th Cir. 2012) (discussing an inmate’s claim based on

14   an alleged failure to protect the inmate from sexual assault by a guard failed due to a lack of facts

15   showing that prison officials were on notice the guard posed a risk of sexual assault to the

16   inmate).

17         The opposition argues that Robertson “was sexually harassed, assaulted and forced to

18   commit fellatio by Defendant Rodriguez . . . after prior complaints had been made to Pallares that

19   Rodriguez was sexually assaulting and raping women at CCWF in the BPH hearing office.”

20   (Pl.’s Opp’n. at 12:3-7, ECF No. 38). However, the actual allegations of Robertson’s Second

21   Amended Complaint do not reflect these facts, nor do they support a claim for failure to protect

22   against Warden Pallares. (See SAC ¶¶ 16-34, ECF No. 32).

23         Robertson cites to paragraphs 11-22, 25-27, and 33-37 of the Second Amended Complaint

24   (Pl.’s Opp’n. at 12:9, ECF No. 38), as support for the failure to protect claim and relies on Smith

25   v. Diaz, 2023 U.S. Dist. Lexis 31042 (N.D. Cal. February 22, 2023) to argue that the SAC’s

26   allegations are sufficient to state a claim. (Id. at 12:14-15). However, unlike in this case, the

27   operative complaint in Smith contained allegations that the warden defendant was the chairman of

28   a prison committee that was required to review complaints regarding PREA issues and that he had
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 1   been present at meetings where the plaintiff had complained about sexual harassment and lack of

 2   privacy. Smith, 2023 U.S. Dist. Lexis at 31042 *4-5. No similar allegations are plead in this

 3   case. (See SAC ¶¶ 16-34, ECF No. 32).

 4         Rather, Robertson’s allegations in support of the failure-to-protect claim are of the type of

 5   “formulaic recitation of the elements of a cause of action” that are insufficient to state a section

 6   1983 claim. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Robertson’s indefinite and conclusory

 7   allegations of notice are like those found insufficient to state a claim for failure to protect against

 8   the warden in Graves v. California Dept. of Corrections and Rehabilitation, No. ED CV 17-1086

 9   JGB (SPx), 2020 WL 13401582 (C.D. Cal. June 3, 2020), discussed in Defendant’s motion.

10   (ECF No. 34-1 at 6-8). See Wiley v. Correctional Officer Rosales, 2021 WL 1649523 *8 (C.D.

11   Cal. March 22, 2021) (dismissing complaint for failing to “clearly identify what each defendant

12   did to violate [p]laintiff’s constitutional rights”).

13          Specifically, none of the paragraphs cited by Robertson (see Pl.’s Opp’n. at 12:9, ECF No.

14   38) plead sufficient allegations from which an inference could be drawn that Warden Pallares (1)

15   was aware of facts from which he could infer that Officer Rodriguez presented a substantial risk

16   of serious harm to Plaintiff for sexual assault and (2) that Warden Pallares actually drew that

17   inference and intentionally ignored the risk as required under Farmer. See 511 U.S. at 834.

18         First, Plaintiff is not a “female inmate” but is a “transwoman,” meaning a biological male,

19   (SAC ¶ 5, ECF No. 32). Robertson does not allege that Warden Pallares was placed on notice that

20   Officer Rodriguez had sexually assaulted biological males housed at CCWF prior to any time that

21   Rodriguez allegedly assaulted Robertson. Moreover, Robertson did not report any alleged

22   assaults by Rodriguez. (SAC, ¶ 18).

23         Robertson only vaguely alleges a “failure to investigate prior claims of sexual harassment,

24   physical and sexual assaults,” and the making of unspecified “intentional decisions” with respect

25   to “co-defendants.” (SAC, ¶¶ 30-32). But, these allegations fail to specify when such claims

26   were made, what the claims consisted of, and what, if anything, was reported to Pallares

27   regarding Rodriguez.

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 1         The remaining paragraphs cited by Robertson to support the failure to protect claim contain

 2   no allegations that Defendant Pallares was put on notice that Rodriguez presented a “substantial

 3   risk of serious harm” via sexual assault to Robertson (or other biological male inmates) prior to

 4   the time Robertson was allegedly assaulted. Paragraphs 11 through 15 are generalized allegations

 5   concerning the California Department of Corrections and Rehabilitation’s PREA policies.

 6   Paragraphs 16 through 18 describe alleged assaults by Rodriguez or Pallares; however, these

 7   paragraphs lack allegations that Warden Pallares was informed of any assaults by Rodriguez.

 8   Paragraph 19 is a boilerplate allegation about “customs, practice and policy;” and paragraphs 20

 9   through 22, 25 through 27, and 33 through 37 are boilerplate, conclusory allegations devoid of

10   facts concerning any notice to Warden Pallares regarding alleged attacks on Robertson.

11   Ultimately, the essence of Roberton’s allegations in support of the claim for failure to protect

12   amount to an attempt to attribute liability to Defendant Pallares based on the fact that he was the

13   Acting Warden of CCWF, which is not sufficient to state a claim. Leer v. Murphy, 844 F.2d 628,

14   633 (9th Cir. 1988). Accordingly, Robertson’s failure to protect claim should be dismissed.

15   IV.   ROBERTSON’S SUPERVISORY LIABILITY CLAIMS ALSO FAILS
16         Roberton’s supervisory liability claim also fails for lack of factual allegations providing

17   clear notice of the basis of this claim. Like Robertson’s argument on the failure-to-protect claim,

18   Robertson relies on paragraphs 11 through 19, 29 through 33, and 36 through 40 of the operative

19   complaint. (Pl.’s Opp., ECF No. 38 at 13). These allegations fail to plausibly suggest that

20   Warden Pallares was aware of a substantial risk of serious harm to Robertson from Rodriguez as

21   discussed above. Regarding allegations cited by Robertson specific to the supervisory liability

22   claim, paragraphs 36 through 40, these allegations are a litany of conclusory, generalized

23   allegations of the type found insufficient to state a supervisory liability claim. (See Def.’s Mot.,

24   ECF No. 31-1 at 12 (discussing cases finding allegations similar to Plaintiff’s insufficient to state

25   supervisory liability claims against a warden under 42 U.S.C. § 1983)). In addition, because

26   Robertson has failed to set forth sufficient allegations to state a supervisory liability claim,

27   Warden Pallares should be granted qualified immunity on this claim. See Hydrick v. Hunter, 669

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 1   F.3d 937, 942 (9th Cir. 2012). Accordingly, Robertson’s supervisory liability claim should be

 2   dismissed.

 3   V.    LEAVE TO AMEND SHOULD BE DENIED
 4         As the Second Amended Complaint was Robertson’s third attempt at pleading claims

 5   against Warden Pallares, the Court’s discretion to deny leave to amend is particularly broad.

 6   Ecological Rights Fndn. v. Pac. Gas and Elec. Co., 713 F.3d 502, 520 (9th Cir. 2013). Robertson

 7   requests leave amend, but offers this Court no additional allegations beyond those already pled.

 8   (See Pl.’s Opp. ECF No. 38 at 14). Thus, it would appear Robertson’s Second Amended

 9   Complaint represents the best Plaintiff can do and it would be futile to allow further amendments.

10   Accordingly, leave to amend further should be denied.

11                                           CONCLUSION
12         The Court should grant Defendant’s motion and dismiss Robertson’s second, third, and

13   fourth causes of action against Warden Pallares.

14   Dated: July 15, 2024                                   Respectfully submitted,
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                              CERTIFICATE OF SERVICE
Case Name:      Jonathan Robertson (AY-5276)              No.    1:23-cv-00975-KES-GSA
                v. State of California, et al.

I hereby certify that on July 15, 2024, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
       REPLY IN SUPPORT OF DEFENDANT PALLARES’S MOTION TO
        DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT

I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California and the United States
of America the foregoing is true and correct and that this declaration was executed on July 15,
2024, at Sacramento, California.


                K. Vitalie                                         /s/ K. Vitalie
                Declarant                                            Signature

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